DCS CALL NUMBER: 1
Date:05/25/99
Subscriber DN: 9173480597
Direction: Incoming
Call Stop Time: 10:16:05
Location:
Area Code:
DTMF Digits:

DCS CALL NUMBER: 2
Date:05/25/99
Subscriber DN: 9173480597
Direction: Outgoing
Call Step Time: 11:28:47
Location:
Area Code:
DIMF Digits:

DCS CALL NUMBER: 3
~Date:05/25/99
Subscriber DN:~9173480597
Direction: Outgoing
Call Stop Time: 11:33:33
Location:
Area Code:
DIMF Digits:

DCS CALL NUMBER: 4
Date:05/25/99
Subscriber DN: 9173480597
Direction: Outgoing
Call Stop Time: 11:40:30
Location:
Area Code:
DTMF Digits:

DCS CALL NUMBER: 5
Date:05/25/393
Subscriber DN: 9173480597
Direction: Incoming
Call Stop Time: 13:16:17
Location:
Area Code:
DTMF Digits:

DCS CALL NUMBER: 6
Date:05/25/939
Subscriber DN: 9173480597
Direction: Incoming
Call Stop Time: 13:38:38
Location:
Area Code:
DIMF Digits:

DCS CALL NUMBER: 7

 

Start Time: 10:15:29
Associate DN: (5183981707)
Call Answer Time: 10:15:30
Call Duration: 00:00:35

Start Time: 11:23:09
Associate DN: 15183981303
Call Answer Time: 11:23:22
Call Duration: 00:05:38

Start Time: 11:32:58
Associate DN: 18889431762
Call Answar Time: 11:33:05
Call Duration: 00:00:35

Start Time: 11:40:18
Associate DN: 2252423
Call Answer Time:

Call Duration: 00:00:12

Start Time: 13:15:41
Associate DN: (5183981707)
Call Answer Time: 13:15:43
Call Duration: 00:00:34

Start Time: 13:38:00
Associate DN: (5183981707)
Call Answer Time: 13:38:02
Call Duration: 00:00:36

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Date:05/25/99
Subscriber DN: 9173480597
Direction: Outgoing

Call Stop Time: 14:18:32
Location:
Area Code:
DTMF Digits:

DCS CALL NUMBER: 8
Date:05/25/99
Subscriber DN: 9173480597

Direction: Outgoing

Call Stop Time: 14:18:46
Location:

Area Code:

DTMF Digits:

DCS CALL NUMBER: 39
Date:05/25/99
Subscriber DN: 9173480597
Direction: Outgoing

Call Stop Time: 14:19:32
Location:
Area Code:
DIMF Digits:

DCS CALL NUMBER: 10
Date:05/25/99
Subscriber DN: 9173480597

Direction: Outgoing

Call Stop Time: 14:19:58
Location:
Area Code:
DTMF Digits:

DCS CALL NUMBER: 11
Date:05/25/99
Subscriber DN: 9173480597

Direction: Outgoing

Call Stop Time: 14:20:40
Location:
Area Code:
DIMF Digits:

DCS CALL NUMBER: 12
Date:05/25/99
Subscriber DN: 93173480597

Direction: Outgoing

Call Stop Time: 14:22:32
Location:

Area Code:

DTMF Digits:

DCS CALL NUMBER: 13
Date:05/25/99

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Start Time: 14:18:31
Associate DN: 17187459558
Call Answer Time:

Call Duration: 00:00:01
Start Time: 14:18:46
Associate DM: 17187459558

Call Answer Time:

Call Duration: 00:00:00
Start Time: 14:19:31
Associate DN: 17197459558

Call Answer Time:

Call Duration: 00:00:01
Start Time: 14:19:58
Associate DN: 171874595598

Call Answer Time:

Call Duration: 00:00:00
Start Time: 14:20:39
Associate DN: 17187459558

Call Answer Time:

Call Duration: 00:00:01
Start Time: 14:22:31
Associate DN: 17187459558

Call Answer Time:
Call Duration: 00:00:01

Start Time: 14:23:12

SJ 8731

 
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Subscriber DN: 9173480597
Direction: Outgoing

Call Stop Time: 14:23:13
Location:

Area Code:

DTMF Digits:

DCS CALL NUMBER: 14
Date:05/25/99
Subscriber DN: 9173480597
Direction: Outgoing
Call Stop Time: 14:24:09
Location:
Area Code:
DTMF Digits:

DCS CALL NUMBER: 15
Date:05/25/99
Subscriber DN: 9173480597
Direction: Outgoing
Call Stop Time: 14:24:42
Location:
Area Code:
DIMF Digits:

DCS CALL NUMBER: 16
Date:05/25/99
Subscriber DN: 9173480597

Direction: Outgoing
Call Stop Time: 14:26:02
Location:

Area Code:
DOTMF Digits:

DCS CALL NUMBER: 17
Date:05/25/99
Subscriber DN: 9173480597

Direction: Outgoing
Call Stop Time: 14:29:16
Location:

Area Code:
DIMF Digits:

DCS CALL NUMBER: 18
Date:05/25/99
Subscriber DN: 9173480597

Direction: Incoming

Call Stop Time: 17:51:20
Location:

Area Code:

DTMF Digits:

DCS CALL NUMBER: 19
Date:05/25/99
Subscriber DN: 9173480597

Associate DN: 17187459558
Call Answer Time:

Call Duration: 00:00:01
Start Time: 14:24:08
Associate DN: 17187459558

Call Answer Time:

Call Duration: 00:00:01
Start Time: 14:24:42
Associate DN: 17187459558

Call Answer Time:

Call Duration: 00:00:00
Start Time: 14:26:01
Associate DN: 17187459558

Call Answer Time:
Call Duration: 00:00:01

Start Time: 14:26:52
Associate DN: 17187459558
Call Answer Time: 14:26:58

Call Duration: 00:02:24

Start Time: 17:50:32
Associate DN: (9145849432)
Call Answer Time: 17:50:33

Call Duration: 00:00:47

18:11:40
(9145849432)

Start Time:
Associate DN:

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Direction: Incoming
Call Stop Time: 18:11:58
Location:

Area Code:
DIMF Digits:

DCS CALL NUMBER: 20
Date:05/25/99

Subscriber DN: 3173480597
Direction: Incoming

Call Stop Time: 18:13:33
Location:

Area Code:
DIMF Digits:

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Call Answer Time: 18:11:41
Call Duration: 00:00:17

Start Time: 18:12:50
Associate DN: (9145849432)
Call Answer Time: 18:12:51

Call Duration: 00:90:42

SJ 8733

 
